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                        IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA

 MARNIE O’BRIEN,                             )
                                             )
                                Plaintiff,   )
                                             )
                   v.                        )
                                             )
 MIDDLE EAST FORUM,                          )
 DANIEL PIPES (individually), and            )
 GREGG ROMAN (individually),                 ) C.A. No. 19-06078 JMG
                                             )
                             Defendants.     )
                                             )
 GREGG ROMAN,                                )
                                             )
                  Counterclaim Plaintiff,    )
                                             )
                   v.                        )
                                             )
 MARNIE O’BRIEN,                             )
                                             )
                Counterclaim Defendant,      )


          DEFENDANTS’ REPLY MEMORANDUM IN FURTHER SUPPORT OF
                 THEIR MOTION FOR SUMMARY JUDGEMENT




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Dated:    March 23, 2021                     Attorneys for Defendants



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                                           ARGUMENT

I.      There Is No Genuine Dispute that Plaintiff’s PHRA Claim Is Time Barred

        In her Response, Plaintiff attempts to save her PHRA claim (Count I) by claiming that

she was subject to “offensive acts” that occurred within the 180-days prior to the filing of her

Charge on July 24, 2019. Specifically, Plaintiff alleges without citation to the record that, during

the 180-day period (going back to January 24, 2019), (1) there were “rumors that she slept with

[her coworker’s] father; (2) “employees scream[ed] through the office that she ‘sucked big black

cock;’” and (3) that she was “compelled to work directly with” Mr. Roman. (ECF 81 at p.14).

This one-sentence attempted defense fails entirely.

        First, Plaintiff makes no attempt to cite to the record in support of these claims, which

makes sense in light of the fact that the record contains no such support. For that reason alone,

her arguments should not be heard by the Court. Parker v. Sch. Dist. of Phil., 823 Fed. Appx.

68, 72 (3d Cir. 2020) (citing Ness v. Marshall, 660 F.2d 517, 519 (3d Cir. 1981)) (holding that a

litigant cannot rely on suspicions, simple allegations, or conclusory statements to show a genuine

issue of material fact).

        Second, not only are the allegations unsupported by the record, they are directly

contradicted by the record. Though Plaintiff now claims she was forced to work with her

alleged harasser, she testified that she did not in fact work with Roman on the audit, the two did

not work together in the same physical space, and Roman’s involvement in the audit was due to

his unique institutional knowledge. (A-649; 650; 623). Further, as Plaintiff admitted in her

deposition, she believes that her co-worker, Ms. Barbounis, “shouted about [Plaintiff’s] sex life

and [that she] suck[s] big black cock” and that Ms. Barbounis allegedly made those statements,

as crude as they may be, before November 2018. (A-719). And, as Plaintiff also admitted at

deposition, the alleged rumor about her sleeping with Mr. Brady also was allegedly circulated

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before November 2018 and she has no knowledge of it being circulated thereafter. (A-636).

That Plaintiff may have learned of the alleged rumors after it was made does not change the fact

that the rumors occurred before the investigation and resolution of her complaint in November

2018. Finally, Plaintiff admitted at her deposition that she was not required to work with Mr.

Roman after November 2018. (A-650). Plaintiff’s deposition testimony that makes this

absolutely clear:

               Q: Other than Mr. Roman’s involvement in the audit, . . . other
               than that was there anything that Mr. Roman did to which you
               took offense after November 5, 2018?

               A: I don’t believe so.

(SOF 117) (emphasis supplied).

       Thus, none of the allegations in her unsupported single-sentence defense can save her

PHRA claim. It is beyond dispute—as Plaintiff herself admitted repeatedly during her

deposition—that she suffered no harassment or otherwise inappropriate conduct after November

5, 2018. (A-628; 630-632). Thus, there are no allegations of misconduct during the 180 days

prior to the filing of her Charge on July 24, 2019, and her PHRA claim should be dismissed as

untimely.

II.    There Is No Genuine Dispute that Summary Judgment Should Be Granted
       on Plaintiff’s Claims

       A.      Plaintiff Concedes that the Alleged Conduct Does Not Constitute Unlawful
               Harassment or Gender Discrimination

       In their Motion for Summary Judgment, Defendants argue extensively that Plaintiff has

failed to establish a prima facie case for harassment or discrimination. (D.I. 80 p. 8-11).

Defendants argue, inter alia, that Plaintiff cannot demonstrate the alleged conduct, even if

accepted as true, constitutes severe or pervasive behavior. (D.I. 80 at pp.8-11). Plaintiff failed to

respond to that argument in her opposition papers. It is well settled both within and outside the

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Third Circuit that the claims are therefore considered abandoned. See, e.g., Celotex Corp. v.

Catrett, 477 U.S. 317 (1986); Ankele v. Hambrick, 286 F. Supp. 2d 485, 496 (E.D. Pa. 2003);

Carroll v. Lancaster County, 301 F. Supp. 3d 486, 499 (E.D. Pa. 2018); Hackett v. Community

Behavioral Health, 2005 WL 1084621, at *6 (E.D. Pa. May 6, 2005) (internal citations omitted).

In accordance with well-settled law, Plaintiff has abandoned her harassment and discrimination

claims by failing to respond to Defendants’ arguments that she has failed to meet her prima facie

claim and, consequently, Plaintiff’s claims must be dismissed.

       B.      Plaintiff’s Proxy Argument Is Unsupported by Law

       Plaintiff attempts to save her claim by arguing that Mr. Roman was a proxy for MEF and

so MEF should be disqualified from asserting the Ellerth-Faragher defense. She fails to cite a

single Third Circuit case for this proposition, nor is there any such case law in the Third Circuit.

As a matter of law, this argument should be flatly rejected by the Court as it is without legal

support.

       Moreover, Plaintiff’s suggestion runs contrary to the entire purpose of Title VII, namely,

the prevention and remediation workplace harassment. Burlington Indus., Inc. v. Ellerth, 524

U.S. 742, 764 (1998). Providing employers with limitations for liability when the employer

effects reasonable anti-harassment measures encourages the use of such measures and serves to

limit the harassing behavior before it becomes severe or pervasive. Id.

       Indeed, here, MEF’s antiharassment policy and training directly serves the purpose of

Title VII. Plaintiff alleged that she was subject to harassment and, per the MEF policy, which

Plaintiff herself revised, went directly to Dr. Pipes with her allegations. (SOF 73). Upon

receiving the complaint, Dr. Pipes took immediate and significant remedial action in accordance

with the purpose of Title VII’s goals of prevention and remediation, after which, as Plaintiff

herself admits, there was never another issue. That Plaintiff seeks to cut off Defendants’ Ellerth-

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Faragher defense undermines the doctrine’s incentive of creating functioning anti-harassment

programs. Ellerth, 524 U.S. at 764.

       C.      There Is No Genuine Dispute that the Ellerth-Faragher Defense Bars
               Plaintiff’s Claims

       If this Court determines that Plaintiff has indeed shown a prima facie case despite failing

to respond to Defendants’ arguments otherwise, Defendants still are entitled to dismissal of

Plaintiff’s claims pursuant to the Ellerth-Faragher defense. As an initial matter, Plaintiff

concedes that she was not subject to any tangible employment action. Defendants argued that no

tangible employment action occurred in their motion for summary judgment, and Plaintiff failed

to address this argument in her response. Consequently, Plaintiff has abandoned any argument to

the contrary. See Celotex Corp. v. Catrett, 477 U.S. 317 (1986); Ankele v. Hambrick, 286 F.

Supp. 2d 485, 496 (E.D. Pa. 2003); Carroll v. Lancaster County, 301 F. Supp. 3d 486, 499 (E.D.

Pa. 2018); Hackett v. Community Behavioral Health, 2005 WL 1084621, at *6 (E.D. Pa. May 6,

2005) (internal citations omitted).

       Thus, for Defendants to successfully invoke the Ellerth-Faragher defense, they must

show: (1) that MEF took reasonable steps to prevent and promptly correct any allegedly unlawful

harassing behavior; and (2) that Plaintiff unreasonably failed to take advantage of the remedial

measures available to her. Defendants have successfully established both.

       First, as set forth in Defendants’ Motion and uncontested by Plaintiff in her response,

MEF had an anti-harassment policy in place, which Plaintiff herself gave training on to all MEF

employees. (A-664-665). Although Plaintiff in her response complains that Defendants

produced more than one copy of MEF’s anti-harassment policy, each policy is identified by date

and block cited in Defendants’ motion. (D.I. 80 at p.15; SOF ¶ 14). In fact, the existence of a

continuously updated policy serves only to demonstrate that MEF continually reviewed and


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updated its policy. Plaintiff herself drafted the policy that was in effect when she made her

compliant to Dr. Pipes. (SOF ¶ 11-12). Thus, Plaintiff makes no real challenge to the existence

of an effective anti-harassment policy and program at MEF. Therefore, Defendants have met the

first part of Ellerth-Faragher’s first prong by showing that MEF took reasonable steps to prevent

harassment. See, e.g., Jones v. Southeastern Pa. Transp. Auth., 796 F.3d 323, 329 (3d Cir.

2015).

         Second, upon receipt of Plaintiff’s handwritten letter on October 31, 2018, Dr. Pipes

immediately took steps that Plaintiff admits permanently stopped all allegedly offensive conduct.

It is undisputed that the steps taken by MEF in response to Plaintiff’s allegations prevented

further alleged harassment. (A-628; 630-632). Plaintiff claims that she thinks Dr. Pipes did not

believe her allegations and therefore Defendants cannot establish part of the first prong Ellerth-

Faragher (that Defendants failed to take remedial action). This argument fails as a matter of

law. The defense does not examine the subjective beliefs of the employer; instead, it examines

what steps the employer took to abate the alleged misconduct. Here there is no dispute that Dr.

Pipes took immediate and significant action in response to Plaintiff’s complaint. As a result, it is

beyond dispute that Defendants have satisfied their burden to show that MEF took reasonable

steps both to prevent and to correct any allegedly unlawful harassing behavior and have satisfied

the first prong of the defense.

         Third, it is beyond dispute that Plaintiff unreasonably failed to take advantage of the

remedial measures made available to her. Plaintiff waited at least nine months after the alleged

comments were made at dinner in early 2018. Plaintiff argues that she was scared to report the

alleged conduct because she believed that Mr. Roman had access employee’s email accounts.




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Yet she admits that when she did make the report to Dr. Pipes, she did so via a handwritten letter

so as to avoid electronic communications. (D.I. 81 at p.11).

       Plaintiff ignores, of course, the fact that she was responsible for MEF’s human-resources

administration and as such had a duty to report any perceived or alleged misconduct

immediately. As Defendants argue in their motion for summary judgment, specific knowledge

of the reporting process cuts against a plaintiff’s claim that her delay in reporting was reasonable.

(D.I. 80 at pp.17-18); Jones v. Southeastern Pa. Transp. Authority, 796 F.3d 323, 329 (3d Cir.

2015). The timeline is undisputed—Plaintiff waited more than nine months to report what she

claims was harassing behavior. As a matter of law, her delay satisfies the second prong of the

Ellerth-Faragher defense. See D.I. 80 at pp. 17-18.

       Plaintiff’s argument relies on Minarsky v. Susquehanna County, 895 F.3d 303, 314 (3d

Cir. 2018). The facts of that case are easily distinguishable from those here and Plaintiff’s

reliance on that case is misplaced. In Minarsky, the plaintiff worked in an isolated location with

her harasser who, over an extended period, attempted to physically assault the plaintiff and

reacted severely when she resisted his advances, regularly threatening her job. 895 F.3d at 314-

15. The court found that the explicit threats of reprisal and the isolated work environment

between the two individuals, as well as other compelling factors when taken together established

a genuine fear of reprisal. 895 F.3d at 317.

       Here, there is no such evidence. Plaintiff was responsible for the human-resources

administration and management of MEF. She had a direct and open line of communication with

MEF’s president, Dr. Pipes. Plaintiff herself was directly involved in the decision to terminate

Tiffany Lee and testified that the allegations of former employees Frank and Szott were

manufactured. (A-691; 575; 747). Despite having supported one termination and having



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admitted that the other two former employees fabricated their allegations, Plaintiff now seeks to

shift her opinion in a self-serving manner in order to claim she had a reasonable fear of

retaliation. Because Plaintiff cannot demonstrate a genuine fear of retaliation, she is foreclosed

from arguing that her nine-month delay in reporting the alleged misconduct was reasonable

under Minarsky. As a result, Defendants have met their burden under Ellerth-Faragher and the

claims should be dismissed.

III.   There Is No Genuine Dispute that Plaintiff Removed Herself from the Job Market

       As set forth in Defendants’ Motion, Plaintiff testified at deposition that she is not seeking

employment, that she does not want to work for someone else, that she wishes to be self-

employed and has elected to focus on growing her bookkeeping business. (D.I. 80 at pp.19-20).

Under the law of the Third Circuit, Plaintiff has failed to mitigate her damages and is precluded

from an award of front pay. Booker v. Taylor Milk Co., Inc., 64 F.3d 860 (3d Cir. 1995). The

only response to this argument by Plaintiff is one paragraph of unsupported statements of “fact”

without citation to the record. (D.I. 81 at p.17). Arguments without citation and without any

support in the factual record cannot serve to avoid summary judgment. Parker 823 Fed.Appx. at

72. Based on Plaintiff’s own sworn testimony, she has withdrawn from the labor market in favor

of a different career path—trying to grow her own business—and she is therefore precluded from

an award of front pay.




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                                          CONCLUSION

         For the foregoing reasons, Defendants respectfully request that the Court grant their

Motion for Summary Judgment pursuant to Fed. R. Civ. P. 56 and dismiss Plaintiff’s Complaint

in its entirety.

                                                                CLARK HILL PLC

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Dated:     March 23, 2021                          Attorneys for Defendants




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                            CERTIFICATE OF SERVICE

     I, Kevin Levine, Esquire, hereby certify that on March 23, 2021, the

foregoing document was served upon the following parties via CM/ECF:

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